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10
                                      UNITED STATES DISTRICT COURT
11                                   EASTERN DISTRICT OF CALIFORNIA
                                          SACRAMENTO DIVISION
12   ERICKA BOHNEL, an individual,
     ROSA MARTINEZ, an individual,                           No. 2:17-cv-01604-WBS-DB
13
                                         Plaintiffs,
14                                                           Hon. William B. Shubb
              v.
15                                                           ORDER RE JOINT
     JETBLUE AIRWAYS CORPORATION, a                          STIPULATION AND MOTION TO
     Delaware corporation,                                   CONTINUE TRIAL AND CASE
16                                       Defendant.          SCHEDULING DEADLINES
     -----------------------------------------------------
17
     MICHELLE HILL, an individual,
18   ARIEL EPSTEIN POLLACK, an
     individual,
19                                       Plaintiffs,
20            v.

21   JETBLUE AIRWAYS CORPORATION, a
     Delaware corporation,
22                         Defendant.

23
                                                  1
24                        ORDER GRANTING STIPULATION AND MOTION TO CONTINUE

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            Case 2:17-cv-01604-WBS-DB Document 39 Filed 12/20/19 Page 2 of 2


 1                                                 ORDER

 2          The Court having considered the parties’ Joint Stipulation and Motion Continuing Trial

 3   and Pretrial Schedule,

 4          The Court having further considered the facts and circumstances set forth in the

 5   documents submitted by counsel relevant to said motion and thus finding that Plaintiffs’ Motion

 6   to Continue is GRANTED.

 7          A Scheduling Order adopting Plaintiffs’ proposed deadlines will reflect the following in

 8   the Bohnel and Hill matters:

 9                            Fact Discovery cut-off: March 31, 2020
                              Expert reports: August 3, 2020
10                            Rebuttal expert reports: September 1, 2020
                              Expert Discovery cut-off: November 2, 2020
11                            Deadline to mediate: December 1, 2020
                              Deadline to file dispositive motions: January 4, 2021
12                            Hill Pre-Trial Conference: March 1, 2021 at 1:30 p.m.
                              Hill Trial: May 4, 2021 at 9:00 a.m.
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     Dated: December 20, 2019
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24                    ORDER GRANTING STIPULATION AND MOTION TO CONTINUE

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